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  INSTRUCTIONS FOR DESIGNATING TRANSCRIPTS FOR APPEALS
                AND ORDERING TRANSCRIPTS



       Designating Transcripts:

      The attached "Designation of Transcripts to be Used in Record on Appeal" form
must be prepared for ALL APPEAL CASES.

        Pursuant to Circuit rule 10-3.1 and 10-3.2 the appellant must coordinate
preparation of the designation of transcripts with the appellee. The designation must be
filed with the District Court within 30 days from the date of filing a notice of appeal in a
civil case and 21 days in a criminal case.

        Please note that the designation must be filed even if transcripts are not needed
for the appeal. The line "Transcripts are NOT required for this appeal" should be used
for this purpose.

       It is necessary to designate all transcripts needed for the appeal even those
which have already been prepared and filed. Please note whether the transcript has
been filed in the last column of the designation form.

     Electronically file the "Designation of Transcripts to be Used in Record on
Appeal" form on the U.S. District Court’s electronic filing system.

       Ordering Transcripts:

       If a designated transcript has not been previously ordered and filed, it is
necessary to also order the transcripts separately. For non-CJA, an "AO 435 Transcript
Order" form must be submitted to the court. For CJA appointed counsel, a "CJA 24
Authorization and Voucher for Payment of Transcript" must be submitted through the
court’s electronic voucher management system, CJA eVoucher.

       Please note that separate transcript order forms must be used for each individual
court reporter. One order form may be used for all recorded hearings.

       A copy of the "Designation of Transcripts to be Used in Record on Appeal" form
should be attached to the transcript order form or uploaded as an attachment to the
authorization request in the eVoucher system.
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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA


                         DESIGNATION OF TRANSCRIPTS
                       TO BE USED IN RECORD ON APPEAL

District Court Case Number:

Court of Appeals Case Number:

Case Caption:

                Transcripts are NOT required for this appeal.

The undersigned hereby designates the following transcripts to be used in the record on appeal
for the above listed case and appeal:

                                                                                         Transcript
   Date of          Docket                    Proceeding                     Recorder/     Filed
   Hearing          Number                                                   Reporter     Yes/No




Date:
                                                                Signature



                                                                Print Name



                                                                Appellant/Appellee
